
*1247OPINION.
Love: We believe that the evidence in this appeal in reference to the contribution of $10,000 to the Aycock Graded School District brings the taxpayer clearly within the purview of the decision of this Board in the Appeal of Poinsett Mills, 1 B. T. A. 6.
The determination of the Commissioner in disallowing that item as a deduction is disapproved.
*1248With reference to the item of $8,714.73, expended in tearing away the old sewer system and installing the new, it will be noted that the evidence shows that the new system is still in use.
We do not believe that this Board is authorized to say, in effect (in the absence of very convincing evidence to the contrary), that the legislature enacted a foolish law and needlessly enforced a heavy outlay in “improvements” on the taxpayer’s real estate properties in such a manner that they may not legitimately be charged to capital assets; hence, with reference to said item of $8,714.73, the determination of the Commissioner is approved.
